Case 1:24-cr-00488-LDH       Document 69        Filed 06/05/25       Page 1 of 1 PageID #: 76

                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
BW                                                271 Cadman Plaza East
F. #2024R00288                                    Brooklyn, New York 11201



                                                  June 5, 2025

By ECF

The Honorable LaShann DeArcy Hall
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Ammar Awawdeh
                     Criminal Docket No. 24-488 (LDH)


Dear Judge DeArcy Hall:

               The government and counsel for the defendant Ammar Awawdeh respectfully
submit this joint status letter in response to the Court’s June 5, 2025 Order. The parties
consent to the Court entering an Order of Excludable Delay from June 5, 2025 until June 30,
2025.


                                                  Respectfully submitted,

                                                  JOSEPH NOCELLA, JR.
                                                  United States Attorney

                                          By:                    /s/
                                                  Benjamin Weintraub
                                                  Assistant United States Attorney
                                                  (718) 254-6519

cc:    Clerk of Court (LDH) (by ECF)
       Counsel of Record (by ECF)
